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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                 Case Nos.:   3:06cr460/MCR
                                                                3:09cv190/MCR/EMT

DASHANE LAUREL
_________________________________/

                                        ORDER
       This cause comes on for consideration upon the magistrate judge’s Report and
Recommendation dated November 23, 2011.              (Doc. 153).   The parties have been
furnished a copy of the Report and Recommendation and have been afforded an
opportunity to file objections pursuant to Title 28, United States Code, Section 636(b)(1).
I have made a de novo determination of any timely filed objections.
       Having considered the Report and Recommendation, and any objections thereto
timely filed, I have determined that the Report and Recommendation should be adopted.
       Accordingly, it is now ORDERED as follows:
       1.     The magistrate judge’s Report and Recommendation is adopted and
incorporated by reference in this order.
       2.     The motion to vacate, set aside, or correct sentence (doc. 128) is DENIED.
       DONE and ORDERED on this 29th day of December, 2011.



                                              s/   M. Casey Rodgers
                                            M. CASEY RODGERS
                                            CHIEF UNITED STATES DISTRICT JUDGE
